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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    KENNETH ANTOINE CHLOE,

                     Plaintiff,

    v.                                      Civil Action No. 20-3090
                                            (EGS)
    GEORGE WASHINGTON UNIVERSITY,

                     Defendant.



                              MEMORANDUM OPINION

     I.     Introduction

          Plaintiff Kenneth Antoine Chloe (“Mr. Chloe”), proceeding

pro se, brings this action against Defendant George Washington

University (“GWU” or “the University”) alleging violations of

the Family and Medical Leave Act of 1993 (“FMLA”), 29 U.S.C. §

2601, et seq., in connection with the termination of his

employment as a plumber with GWU. See Compl., ECF No. 1. Mr.

Chloe alleges that GWU knowingly terminated him while he “was

actively on” FMLA leave, thereby retaliating against him and

unlawfully interfering with his rights under the FMLA. See id.

at 3-4. 1 Pending before the Court is GWU’s Motion for Summary



1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF header page number, not the page number
of the filed document, with the exception of deposition
testimony, which is to the page number of the deposition
transcript.
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Judgment. See Def.’s Mot., ECF No. 44; Def.’s Mem. of P. & A. in

Supp. of Def.’s Mot. (“Def.’s Mem.”), ECF No. 44-2. Upon careful

consideration of the pending motion, the opposition, the reply

thereto, the applicable law, and the entire record therein, the

Court GRANTS GWU’s Motion for Summary Judgment.

    II.    Background

           A. Factual Background

      The following facts are undisputed. 2 GWU hired Mr. Chloe as

a plumber in October 2011 and promoted him to the role of Senior


2 Pursuant to the Court’s November 2, 2020 Standing Order
Governing Civil Cases, see ECF No. 12; GWU properly filed its
Statement of Material Facts Not in Dispute, see ECF No. 44-3;
Ex. 1 to Def.’s Reply, ECF No. 48-1. However, contrary to the
Court’s Standing Order and Local Civil Rule 7(h)(1), Mr. Chloe
did not file in response a Counter-Statement of Disputed Facts
indicating whether he admitted or denied each of GWU’s supplied
undisputed material facts. As GWU says, Mr. Chloe “made no
effort to respond to GW[U]’s Statement of Material Facts and
made no effort to attempt to isolate or specifically dispute any
part of the record.” Def.’s Reply, ECF No. 48 at 3 n.2. As a
result, the Court concludes that all the facts proffered in
GWU’s Statement of Material Facts “are not properly controverted
and thus undisputed.” Standing Order Governing Civil Cases, ECF
No. 12 at 10 ¶ 13(h); Fed. R. Civ. P. 56(e)(2); see also Murray
v. Amalgamated Transit Union, 183 F. Supp. 3d 6, 16 (D.D.C.
2016) (“In deciding a motion for summary judgment, a court ‘may’
penalize an opposing party’s failure to ‘controvert[]’ a given
fact by ‘assum[ing] that facts identified by the moving party in
its statement of material facts are admitted.’” (quoting LCvR
7(h)(1))); Twist v. Meese, 854 F.2d 1421, 1425 (D.C. Cir. 1988)
(accepting as “admitted” the defendant’s statement of material
facts due to the absence of a counter-statement of disputed
facts from the plaintiff). That Mr. Chloe is proceeding pro se
is irrelevant, as “[c]ourts have made clear that when faced with
a motion for summary judgment, a pro se plaintiff, just like a
represented party, must comply with a court’s rules regarding
responses to statements of material fact and the need to
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Plumber in September 2012. Def.’s Statement of Material Facts

Not in Dispute (“SOMF”), ECF No. 44-3 at 1 ¶ 1; Def.’s Ex. A,

ECF No. 44-5 at 64-66. Mr. Chloe held the position of Senior

Plumber until he was terminated on October 1, 2020, and his work

duties as a Senior Plumber required him to be physically on

GWU’s campus. Def.’s Mem., ECF No. 44-2 at 7.

              1. Mr. Chloe’s Various Periods of Medical Leave
                 During His GWU Employment

     While employed by GWU, Mr. Chloe requested and was approved

for FMLA leave on four different occasions, in addition to other

extended medical leaves. Def.’s SOMF, ECF No. 44-3 at 1 ¶ 2; see

Def.’s Ex. B, ECF No. 44-6 at 7 (Mr. Chloe’s complete “Employee

Leave Record”). Mr. Chloe first took continuous FMLA leave from

January 23, 2013 until May 5, 2013. Def.’s Ex. B, ECF No. 44-6

at 7; see Def.’s Ex. A, ECF No. 44-5 at 67-87 (documents

pertaining to Mr. Chloe’s 2013 FMLA leave). He was not

disciplined or terminated for taking this 2013 FMLA leave.

Def.’s SOMF, ECF No. 44-3 at 1 ¶ 4. Mr. Chloe next took

continuous FMLA leave from January 7, 2016 until March 6, 2016.

Def.’s Ex. B, ECF No. 44-6 at 7; see Def.’s Ex. A, ECF No. 44-5

at 88-99 (documents pertaining to Mr. Chloe’s 2016 FMLA leave).




identify record evidence that establishes each element of his
claim for relief.” Anand v. U.S. Dep’t of Health & Hum. Servs.,
No. 21-1635, 2023 WL 2645649, at *5 (D.D.C. Mar. 27, 2023)
(citation and internal quotation marks omitted).
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He was also not disciplined or terminated for taking this 2016

FMLA leave. Def.’s SOMF, ECF No. 44-3 at 2 ¶ 6. The next year,

beginning on July 20, 2017, Mr. Chloe began another continuous

FMLA leave period due to a serious health condition. Id. ¶ 7;

Def.’s Ex. B, ECF No. 44-6 at 7. However, he was not able to

return to work after the exhaustion of his FMLA leave on October

11, 2017. Def.’s SOMF, ECF No. 44-3 at 2 ¶ 8. Instead of taking

adverse action, GWU granted Mr. Chloe an accommodation for his

medical conditions, which permitted him to remain on disability

leave until July 2, 2018. Id. ¶¶ 9-10; Def.’s Ex. B, ECF No. 44-

6 at 7; see Def.’s Ex. A, ECF No. 44-5 at 100-14 (documents

pertaining to Mr. Chloe’s 2017 to 2018 FMLA and disability

leave). Mr. Chloe was thus not disciplined or terminated for

taking this leave period in excess of his statutory leave under

the FMLA. Def.’s SOMF, ECF No. 44-3 at 2 ¶ 11.

     A few months after returning to work, Mr. Chloe submitted a

doctor’s note indicating that he had “an unspecified

‘disability’” and could not work for ten days around the

Thanksgiving holiday, from November 16 to 25, 2018. Id. ¶ 12;

see Def.’s Ex. A, ECF No. 44-5 at 115-16 (“Certificate of

Disability” from Mr. Chloe’s physician, clearing him to return

to work on November 26, 2018). Although Mr. Chloe never

identified the specific “disability” referenced in this doctor’s



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note to GWU, the University did not discipline or terminate him

for taking this leave. Def.’s SOMF, ECF No. 44-3 at 3 ¶ 13.

     On February 11, 2020, Mr. Chloe requested medical leave due

to a serious health condition involving his back. Id. at 4 ¶ 24.

Although he failed to timely submit the required documentation,

see Def.’s Ex. A, ECF No. 44-5 at 134-35; he was approved for

intermittent FMLA leave on March 26, 2020—his fourth period of

FMLA leave during his GWU employment, id. at 139. The approved

leave period was from February 11, 2020 to January 17, 2021, and

the accompanying health care certification stated that Mr. Chloe

should be provided leave for two health episodes per month, two

days per episode, and one medical appointment per month, i.e., a

maximum of five days of intermittent FMLA leave per month. Id.

GWU informed Mr. Chloe on March 27, 2020 that he was thereafter

required to follow his department’s absence reporting procedures

when calling in each FMLA absence, and if he failed to do so,

those absences would “not be approved for FMLA job-protected

leave.” Id. at 143.

     Based on this history, GWU argues it “had a long history of

granting and permitting [Mr. Chloe] to use all requested medical

leaves without interference or any adverse consequence.” Def.’s

Mem., ECF No. 44-2 at 9.




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              2. Mr. Chloe’s Religious Accommodation During His
                 GWU Employment

     GWU also argues that it has accommodated Mr. Chloe’s

“stated religious beliefs that prevented his compliance with

certain workplace rules.” Id. On August 27, 2019, Mr. Chloe

requested a religious accommodation with respect to his work

uniform and informed GWU that his religious beliefs did not

permit him to tuck in his shirt as required of employees in his

position. Def.’s SOMF, ECF No. 44-3 at 3 ¶ 14; Def.’s Ex. A, ECF

No. 44-5 at 117. In support of his request, Mr. Chloe provided a

statement from his “spiritual teacher” T. Allah Bey, a man he

met in the park who is not affiliated with any religion. Def.’s

SOMF, ECF No. 44-3 at 3 ¶ 16. In his letter, T. Allah Bey stated

that the spiritual faith he shares with Mr. Chloe requires them

to wear their clothing “loose and free flowing” rather than

buttoned or tucked in. See Def.’s Ex. A, ECF No. 44-5 at 118.

     GWU, through its Equal Employment Opportunity (“EEO”)

Office, engaged in the interactive process with Mr. Chloe to

review and process his religious accommodation request. Def.’s

SOMF, ECF No. 44-3 at 3 ¶ 15. On September 18, 2019, the EEO

Office asked Mr. Chloe to provide contact information for T.

Allah Bey so that the University could speak with him. Def.’s

Ex. A, ECF No. 44-5 at 119. Mr. Chloe did not respond to this

request, leading GWU to follow up with a second email request on


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September 20, 2019, asking that he provide the relevant contact

information by close of business on September 27, 2019. Id. Mr.

Chloe again did not respond. Def.’s SOMF, ECF No. 44-3 at 4 ¶

19. As a result, GWU’s EEO Office emailed Mr. Chloe on October

3, 2019 to inform him that it would administratively close his

accommodation request if he did not respond with the requested

information by close of business on October 7, 2019. Def.’s Ex.

A, ECF No. 44-5 at 120. Mr. Chloe responded the next day but did

not (and never did) provide the contact information for his

“spiritual teacher.” Def.’s SOMF, ECF No. 44-3 at 4 ¶ 21.

     “Nonetheless, and despite [Mr. Chloe’s] failure to timely

engage in the process, the University continued an interactive

dialogue regarding potential accommodations.” Id. ¶ 22. GWU

emailed Mr. Chloe on October 8, 2019 to inform him that it would

“consider alternative accommodations” and asked that he “provide

examples of alternative shirts that are not tucked in” so that

it could provide him “with a compliant uniform.” Def.’s Ex. A,

ECF No. 44-5 at 121-22. After an exchange of emails between

GWU’s EEO Office and Mr. Chloe regarding his “suggested examples

of attire accommodation[,]” see id. at 121-31; on November 22,

2019, the University formally approved Mr. Chloe’s request for a

religious accommodation by providing him an alternative work

shirt that was not required to be tucked in, see id. at 132-33.



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              3. GWU’s COVID-19 Policy and Mr. Chloe’s Refusals
                 to Comply with That Policy or Complete a
                 Religious Accommodation Request

     Following the March 2020 onset of the COVID-19 pandemic,

GWU stopped in-person classes and transitioned to remote

instruction. Def.’s Mem., ECF No. 44-2 at 11. As a result, most

GWU employees began working remotely, with the exception of

“essential” workers, including plumbers like Mr. Chloe, who were

required to continue working on campus due to the nature of

their job duties. Id. On August 10, 2020, GWU announced new

“public health measures to safeguard those who need to be on

campus and mitigate, to the extent possible, any potential

outbreaks that could burden local health and medical resources.”

Def.’s Ex. A, ECF No. 44-5 at 144. As a result of these

measures, GWU’s Facilities, Planning, Construction and

Management (“FPCM”) division, in which Mr. Chloe worked, began

requiring compliance with COVID-19 training, testing, and daily

self-monitoring requirements by August 28, 2020. Def.’s SOMF,

ECF No. 44-3 at 5 ¶ 29; see Def.’s Ex. C, ECF No. 44-7 at 18-22.

     On August 26, 2020, Mr. Chloe emailed GWU’s EEO Office

indicating that he had recently become aware of the mandatory

COVID-19 testing and vaccinations policy in order to maintain

employment at GWU. Def.’s Ex. A, ECF No. 44-5 at 146. He

characterized these measures as “a threat” and informed the

University that the policy went “against [his] religious

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beliefs.” Id.; see also id. at 79:19-80:17 (“I didn’t believe in

it. I didn’t believe that I would be, should be tested [for

COVID-19.]”). Mr. Chloe further stated in his email: “I do not

take vaccines nor do I have testing done on my body for any

reason, the ALL (GOD) provides me with everything I need to be

free of any disease or ailments naturally.” Id. at 146. On

August 28, 2020, Ms. Jessica Tischler (“Ms. Tischler”) from

GWU’s EEO Office responded to Mr. Chloe, acknowledging his email

as a request for a religious accommodation, “specifically

seeking exemption from the COVID-19 testing and the flu shot

requirements.” Id. at 147. Ms. Tischler requested that Mr. Chloe

complete the religious accommodation form and submit

documentation from his religious leader substantiating his need

for the accommodation by close of business on September 2, 2020.

Id. Although he replied that same day asking GWU to resend the

form due to technical issues, which the University did, id. at

147-48; Mr. Chloe did not respond by the September 2, 2020

deadline with his completed request or ask for an extension,

Def.’s SOMF, ECF No. 44-3 at 7 ¶ 37. Instead, he stopped

reporting for work and began taking annual (as opposed to FMLA)

leave on Monday, August 31, 2020. Id. at 6 ¶ 36; see Def.’s Ex.

A, ECF No. 44-5 at 152-55 (“Employee Transactions” data).

     On September 4, 2020, Ms. Tischler followed up with Mr.

Chloe via email, informing him that he was “out of compliance

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with GW[U]’s return to work requirements of COVID-19 testing[,]”

and that he had until close of business that day to submit the

accommodation form and documentation, or GWU would close his

request. Def.’s Ex. A, ECF No. 44-5 at 148. Mr. Chloe did not

respond to this email with the requisite paperwork, leading the

University to close his request “due to his non-participation in

the interactive process.” Def.’s SOMF, ECF No. 44-3 at 7 ¶ 39.

Instead, on September 8, 2020, Mr. Chloe issued a “Notice” to

Ms. Tischler demanding that GWU stop its insistence on COVID-19

testing/vaccinations, which he called unlawful “experiment[s],”

and its requests for information from him in support of a

religious accommodation, which he deemed “constitutional

violation[s]” that were “against [his] religious beliefs.”

Def.’s Ex. A, ECF No. 44-5 at 149-50; see also id. at 93:8-94:19

(explaining that the “Notice” served to communicate both his

refusal to get tested for COVID-19 and to submit the religious

accommodation form). In this “Notice,” Mr. Chloe stated that he

was being “forced” to use annual leave he had not intended to

use at that time, and as a result, he was uncertain if he could

“work to support [his] family because of [his] religious

beliefs.” Id. at 149. He also informed GWU that he had been on

vacation the week before when he had failed to respond to Ms.

Tischler’s communications and that he found out from his

plumbing supervisor upon return from vacation that he was not

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allowed back on campus. Id. He ended this “Notice” by

threatening to sue GWU if it did not “rectify” the situation and

rescind its testing requirements and request for accommodation

information. Id. at 150; Def.’s SOMF, ECF No. 44-3 at 7 ¶ 42.

GWU argues that the “Notice” “makes no reference to [Mr.

Chloe’s] FMLA leave or related medical condition and makes clear

that his continued use of annual leave was related to his

refusal to comply with [the] University’s COVID-19 testing

requirement or the religious accommodation process to request

[an] exemption.” Def.’s SOMF, ECF No. 44-3 at 8 ¶ 44.

     That same day, Ms. Tischler acknowledged receipt of Mr.

Chloe’s “Notice” via email and thanked him for informing GWU

that he was on vacation the prior week. Def.’s Ex. A, ECF No.

44-5 at 156. She provided Mr. Chloe with another copy of the

accommodation request form, in addition to explaining that a

request for a religious accommodation is an interactive process

that requires his participation and aims “to identify whether

there exists a reasonable accommodation” that would allow him to

practice his “sincerely held religious beliefs while not

creating an undue hardship for” GWU. Id. She also wrote: “You

mention an experiment in your most recent letter but we are not

asking that you participate in any experiment or research

project and need clarification on this point.” Id. Instead of

completing the religious accommodation form, Mr. Chloe responded

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to Ms. Tischler on September 10, 2020 with a “2nd Notice”

stating that per his spiritual beliefs, “the ALL (God) provides

me with natural foods and herbs that will cure any sickness[.] I

also believe that many illnesses come from man’s interference

such as testing, vaccines, improper eating habits, improper

hygiene practices etc.” Id. at 157. He also insisted that COVID-

19 testing is the “definition of [an] experiment,” as well as

social distancing and wearing a facial mask, none of which he

claimed was supported by scientific data or “medical proof.” See

id. at 157-60. Mr. Chloe further wrote that the religious

accommodation form “is [a] violation and constitutes a RELIGIOUS

TEST” contrary to his rights protected by the U.S. Constitution.

Id. at 160. This “2nd Notice” makes “no reference to [the] FMLA,

[Mr. Chloe’s] intent to take any FMLA leave, or any related

medical condition.” Def.’s SOMF, ECF No. 44-3 at 9 ¶ 50.

     Based on Mr. Chloe’s “failure to substantively respond or

engage in the interactive process,” id. ¶ 51; GWU closed his

religious accommodation request on Friday, September 11, 2020

and advised him via email that he was “expected to schedule a

COVID test, take the required training[,] and begin completing

the daily symptom screening” by close of business on Monday,

September 14, 2020 in order to be cleared to return to work,

Def.’s Ex. A, ECF No. 44-5 at 165. GWU also expressly stated

that “[f]ailure to adhere to these university requirements for

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on-site personnel [would] result in disciplinary action, up to

and including termination.” 3 Id. Following receipt of this email,

on September 14, 2020, Mr. Chloe sent a “Final Notice” to Ms.

Tischler, in which he stated his intent to sue if GWU “decide[d]

to violate [his] rights (1789 United States Constitution Clause

3)” and his “religious beliefs” by terminating him for failure

to abide by its “new and unnecessary” COVID-19 policy. Id. at

163. This “Final Notice” makes “no reference to [the] FMLA, [Mr.

Chloe’s] intent to take any FMLA leave, or any related medical

condition.” Def.’s SOMF, ECF No. 44-3 at 10 ¶ 55.

              4. Mr. Chloe’s Refusal of GWU’s Final Opportunity
                 to Request a Religious Accommodation, His
                 Placement in Unpaid Leave Status, His Request
                 for Additional FMLA Leave, and His Termination

     On September 18, 2020, GWU provided Mr. Chloe with a final

opportunity to request a religious accommodation as to the

University’s COVID-19 policy and procedures. See Def.’s Ex. A,

ECF No. 44-5 at 166. In a letter delivered to Mr. Chloe via

email, Ms. Vickie Fair (“Ms. Fair”), the Assistant Vice

President of EEO and Employee Relations, informed him that if he

wished “to pursue a new request for religious accommodation

relating to the university’s requirements that [he] engage in




3 The University also told Mr. Chloe in this email that it was
returning three days (24 hours) of annual leave back to him for
time when his original request for religion accommodation was
pending. See Def.’s Ex. A, ECF No. 44-5 at 165.
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social distancing, wear a face mask, and be tested weekly for

the presence of COVID-19, [he] must submit the required

information” by close of business on September 23, 2020. Id. at

168. Ms. Fair further stated that “[u]ntil then, . . . if [Mr.

Chloe did] not immediately report for work and abide by the

above-referenced requirements, [he would] remain in an unpaid

leave status[,]” 4 and that if he failed to submit a religious

accommodation request by the deadline, his “continued employment

at the University [would] be at risk.” Id.

      The following business day, September 21, 2020, Mr. Chloe

requested use of intermittent FMLA leave from September 21 to

September 25, 2020, i.e., the five days he was allotted each

month per his health care certification, through GWU’s third-

party administrator of the medical leave system, the Lincoln

Financial Group (“LFG”). 5 Def.’s SOMF, ECF No. 44-3 at 5 ¶¶ 26-

27, 11 ¶¶ 60-62. However, Mr. Chloe did not have any medical

appointments scheduled until September 25, 2020, and GWU argues

that he “thus seemed to ‘anticipate’ a four-day flare up of his


4 From Monday, August 31, 2020 through Friday, September 18,
2020, Mr. Chloe took paid annual “overdraft” leave, meaning that
he did not have accrued annual leave available at the time. See
Def.’s Ex. A, ECF No. 44-5 at 152-55 (“Employee Transactions”
data); Def.’s Mem., ECF No. 44-2 at 16 n.7. As a result, GWU
informed him that he was on an unpaid leave status.
5 GWU explains that it uses LFG to collect medical documentation

related to any medical leave, Def.’s Mem., ECF No. 44-2 at 8
n.2; and that individuals using such leave report their FMLA
absences directly to LFG, Def.’s SOMF, ECF No. 44-3 at 11 ¶ 61.
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back condition.” Id. at 11 ¶ 63. On September 25, 2020, Mr.

Chloe was examined by his physician for back pain, who concluded

that he could “return to work at full capacity” without

restrictions and completed a return to work form to that effect.

Id. ¶ 64; Def.’s Ex. D, ECF No. 44-8 at 26-27. 6 However, Mr.

Chloe did not return to work and continued to designate his

absence as intermittent FMLA leave, despite exceeding the

maximum days permitted per month by his medical certification.

Def.’s SOMF, ECF No. 44-3 at 12 ¶ 65. Mr. Chloe reported to LFG

that the reason for his continued intermittent FMLA absences—

from September 25, 2020 until October 2, 2020, the day after his

termination—was “multiple treatments,” even though his physician

had cleared him for work, and he did not have another medical

appointment scheduled until October 5, 2020. Id. ¶¶ 66-67;




6 The same doctor, Dr. Alexander Kiefer (“Dr. Kiefer”), who
cleared Mr. Chloe to “return to work at full capacity” following
Mr. Chloe’s September 25, 2020 physical examination, see Def.’s
Ex. D, ECF No. 44-8 at 26-27 (“Progress Note” of Dr. Kiefer from
his exam of Mr. Chloe); later contradicted himself in a
Physician’s Certificate dated October 27, 2020, submitted as
part of Mr. Chloe’s request for unemployment benefits following
his termination, see Pl.’s Ex. D, ECF No. 47 at 15. In this
certificate, provided to the D.C. Department of Employment
Services, Dr. Kiefer stated that Mr. Chloe was incapacitated
from working due to his back condition from September 18, 2020
to October 26, 2020. Although the Court notes this discrepancy
between the exhibits, it has already accepted as “admitted”
GWU’s undisputed material fact that Mr. Chloe was cleared to
return to work by Dr. Kiefer on September 25, 2020. Def.’s SOMF,
ECF No. 44-3 at 11 ¶ 64; see supra note 2.


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Def.’s Ex. D, ECF No. 44-8 at 48; see also Pl’s. Exs. E & F, ECF

No. 47 at 16-22 (LFG records from this time period).

     Instead of submitting a completed religious accommodation

request by the September 23, 2020 deadline, on that date Mr.

Chloe sent a “Notice and Response” to Ms. Fair and other

employees of GWU and its EEO Office stating that “[t]he

constitution ‘CANNOT’ accept the concept of a NEW NORMAL (MASK

WEARING, EXPERIMENTS WITH UNPROVEN VACCINES, UNWARRANTED

TESTING, VIOLATION OF [HIS] RELIGIOUS BELIEFS ETC.)” Def.’s Ex.

D, ECF No. 44-8 at 58. He further emphasized: “I WILL NEVER TAKE

ANOTEHR RELIGIOUS TEST, I WILL NEVER ALLOW YOU TO EXPERIMENT

[i.e., conduct COVID-19 testing] ON ME PERIOD.” Id. at 59. Mr.

Chloe demanded that “this matter” be resolved by September 25,

2020, following his doctor’s appointment, or he would sue GWU.

Id. Then, on September 28, 2020, Mr. Chloe sent GWU a final

“Notice with Intent to Sue” “for violations of [his] rights

protected by [the] 1789 Constitution and 1866 Civil Rights Act.”

Id. at 57. Neither the September 23, 2020 “Notice and Response”

or the September 28, 2020 “Notice with Intent to Sue” refer to

Mr. Chloe’s FMLA leave, related medical conditions, or the need

for additional time to complete the religious accommodation

request. Def.’s SOMF, ECF No. 44-3 at 13 ¶¶ 71, 73.

     On October 1, 2020, GWU terminated Mr. Chloe for refusing

to “abide by COVID-19 related university policies,” and for

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failing to submit documentation supporting his religious

accommodation request. 7 Def.’s Ex. A, ECF No. 44-5 at 171. In Mr.

Chloe’s termination letter, issued by Mr. David Dent (“Mr.

Dent”), the Associate Vice President of the FPCM division, Mr.

Dent wrote that “[f]or these reasons,” and “most important[ly]”

because of Mr. Chloe’s refusal “to be tested for the COVID-19

virus (and engage in social distancing among other

requirements)[,]” his employment at GWU was terminated,

effective October 1, 2020. Id. To date, Mr. Chloe’s position

regarding COVID-19 testing has not changed, and he has never

taken a COVID-19 test. Id. at 89:3-6.

       B. Procedural Background

     On May 29, 2021, the Court denied GWU’s Second Motion to

Dismiss, see ECF No. 15; concluding that Mr. Chloe “has stated

an interference claim [under the FMLA] . . . because he alleges

[in the Complaint] that he was fired for not taking a [COVID-19]

test that he was unable to take because he was on FMLA leave[,]”

and because “he has shown prejudice arising from the

interference . . . because his employment was terminated[,]”

Mem. Op. & Order, ECF No. 34 at 6 (citation and internal

quotation marks omitted). Following this decision, on June 14,


7 GWU has since terminated ten employees for failure to comply
with its mandatory COVID-19 vaccination policy and who did not
request or receive a medical or religious exemption. Def.’s
SOMF, ECF No. 44-3 at 14 ¶ 78.
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2021, GWU filed its answer to the Complaint. See Def.’s Answer,

ECF No. 35. On November 5, 2021, GWU filed the present Motion

for Summary Judgment along with exhibits, its statement of

undisputed material facts, and a memorandum of points and

authorities in support of its motion. See Def.’s Mot., ECF No.

44; Def.’s Mem., ECF No. 44-2; Def.’s SOMF, ECF No. 44-3; Def.’s

Exs. A-D, ECF Nos. 44-5-44-8. On November 18, 2021, Mr. Chloe

contemporaneously filed two documents: (1) a “Motion to Deny,

Respond and Rebut for Defendant’s Summary Judgment” [hereinafter

“Pl.’s Opp’n”], see ECF No. 46; and (2) a “Judicial Notice of

Adjudicative Fact” that includes exhibits, see ECF No. 47. The

Court construes both filings as constituting Mr. Chloe’s

opposition, to which GWU replied on December 3, 2021. See Def.’s

Reply, ECF No. 48. GWU’s Motion for Summary Judgment is now ripe

and ready for the Court’s adjudication.

  III. Standard of Review

     Pursuant to Federal Rule of Civil Procedure 56, summary

judgment should be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Waterhouse v. Dist. of Columbia, 298 F.3d 989, 991 (D.C.

Cir. 2002). The moving party bears the initial burden “of

informing the district court of the basis for its motion, and

identifying those portions of the pleadings, depositions,

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answers to interrogatories, and admissions on file, together

with the affidavits, if any, which it believes demonstrate the

absence of a genuine issue of material fact.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 91 L. Ed. 2d 265

(1986) (internal quotation marks omitted). This burden “may be

discharged by ‘showing’ . . . that there is an absence of

evidence to support the nonmoving party’s case.” Id. at 325.

     On the other hand, to defeat summary judgment, the

nonmoving party must “go beyond the pleadings” and his “own

affidavits, . . . depositions, answers to interrogatories, and

admissions on file” to designate specific facts showing that

there is a genuine issue of material fact for trial. Id. at 324

(citation and internal quotation marks omitted). A material fact

is one capable of affecting the outcome of the litigation, while

a genuine dispute is one in which “the evidence is such that a

reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106

S. Ct. 2505, 91 L. Ed. 2d 202 (1986). The nonmoving party’s

opposition “must consist of more than mere unsupported

allegations or denials and must be supported by affidavits or

other competent evidence” in the record. Musgrove v. Dist. of

Columbia, 775 F. Supp. 2d 158, 164 (D.D.C. 2011), aff’d, 458 F.

App’x 1 (D.C. Cir. 2012); Celotex, 477 U.S. at 324. Furthermore,

in the summary judgment analysis, “[t]he evidence of the non-

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movant is to be believed, and all justifiable inferences are to

be drawn in his favor.” Anderson, 477 U.S. at 255.

  IV.   Analysis

     To begin, the Court agrees with GWU that although Mr. Chloe

has alleged in the Complaint that he was terminated due to his

FMLA leave status, see Compl, ECF No. 1 at 3; his “non-compliant

[o]pposition does nothing to address the merits of the case,”

Def.’s Reply, ECF No. 48 at 3. Instead of rebutting or

disputing, with record support, the material facts GWU proffered

in its Statement of Material Facts Not in Dispute, Mr. Chloe’s

opposition reads as “a blanket and conclusory ‘denial’ of the

University’s [m]otion[,]” id. at 7; in which his only arguments

are that statements of counsel in a brief are hearsay rather

than evidence and that GWU “has yet to provide sworn testimony

under penalty of perjury,” see Pl.’s Opp’n, ECF No. 46 at 2-3.

However, “the premise of this argument is demonstrably false[,]”

as GWU’s factual assertions in its statement of material

undisputed facts are not only “appropriately advanced by legal

counsel” pursuant to the procedures set forth in Federal Rule of

Civil Procedure 56 and the Court’s Standing Order Governing

Civil Cases, see ECF No. 12; but also properly rely on record

evidence, including Mr. Chloe’s own deposition testimony and

relevant documents exchanged during discovery that have been

appended as exhibits to GWU’s motion, see Def.’s Reply, ECF No.

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48 at 7. The Court is further unpersuaded by the only case Mr.

Chloe cites to in his opposition, Trinsey v. Pagliaro, 229 F.

Supp. 647 (E.D. Pa. 1964), which apart from being nonbinding on

this Court, is also inapposite, as it pertains to “unsupported

representations of material fact (as opposed to legal argument)

made by counsel at oral argument[,]” which is not the case here.

Def.’s Reply, ECF No. 48 at 7-8 (citing Trinsey, 229 F. Supp. at

649).

     Because of Mr. Chloe’s deficient opposition, the Court

concludes that he has failed to address all of the legal

arguments and authorities presented in GWU’s Motion for Summary

Judgment, in addition to his failure, contrary to his burden as

a plaintiff under Rule 56, to file a proper Counter-Statement of

Disputed Facts and “identify evidence that a reasonable jury

could credit in support of each essential element of [his]

claims.” Grimes v. Dist. of Columbia, 794 F.3d 83, 94 (D.C. Cir.

2015); Anand v. U.S. Dep’t of Health & Hum. Servs., No. 21-1635,

2023 WL 2645649, at *5 (D.D.C. Mar. 27, 2023); see supra note 2.

Accordingly, because Mr. Chloe had the opportunity to refute

GWU’s arguments that it “did not retaliate against [him] or

interfere with his FMLA rights[,]” Def.’s Mem., ECF No. 44-2 at

7; but did not do so, the Court construes this failure as a

waiver of any objection to the arguments in GWU’s motion, see,

e.g., Hopkins v. Women’s Div., Gen. Bd. of Glob. Ministries, 284

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F. Supp. 2d 15, 25 (D.D.C. 2003) (“It is well understood in this

Circuit that when a plaintiff files an opposition to a

dispositive motion and addresses only certain arguments raised

by the defendant, a court may treat those arguments that the

plaintiff failed to address as conceded.”), aff’d, 98 F. App’x 8

(D.C. Cir. 2004); Stephenson v. Cox, 223 F. Supp. 2d 119, 121

(D.D.C. 2002) (concluding that because “the plaintiff [had]

failed to provide any reason why the court should not treat the

motion as conceded[,]” he “had waived any objection to the

motion”). Nonetheless, because Mr. Chloe is proceeding pro se

without the benefit of counsel, the Court briefly addresses

GWU’s two arguments for why summary judgment should be entered

in its favor: (1) Mr. Chloe’s retaliation claim under the FMLA

fails as a matter of law because GWU had a legitimate, non-

retaliatory reason for his termination, and (2) the undisputed

evidence confirms that GWU did not unlawfully interfere with Mr.

Chloe’s FMLA rights. 8 See Def.’s Mem., ECF No. 44-2 at 22-32;

see, e.g., Ning Ye v. Holder, 644 F. Supp. 2d 112, 116 (D.D.C.

2009) (affording greater latitude to pro se plaintiffs than




8 As GWU notes, Mr. Chloe “alleges that his termination violated
the FMLA without expressly identifying the legal theory under
which he seeks to proceed.” Def.’s Mem., ECF No. 44-2 at 21.
However, drawing all inferences in Mr. Chloe’s favor, and
following GWU’s summary judgment briefing, the Court determines
that it must address Mr. Chloe’s FMLA claims under a retaliation
theory and an unlawful interference theory.
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those with counsel or who are themselves practicing attorneys).

Overall, GWU argues that Mr. Chloe’s termination “was wholly

unrelated to [his] use of FMLA leave[,]” Def.’s Mot., ECF No. 44

at 1; and that both claims under the FMLA must fail because Mr.

Chloe’s “termination would have occurred regardless of his use

of intermittent FMLA leave[,]” Def.’s Mem., ECF No. 44-2 at 21.

The Court addresses each of GWU’s arguments in turn.

       A. Mr. Chloe’s Retaliation Claim Under the FMLA Fails as
          a Matter of Law

     The FMLA provides that it is unlawful for an employer “to

interfere with, restrain, or deny the exercise of or the attempt

to exercise, any right provided under this subchapter[,]” or “to

discharge or in any other manner discriminate against any

individual for opposing any practice made unlawful by this

subchapter.” 29 U.S.C. § 2615(a)(1)-(2). “As relevant here, a

plaintiff may bring retaliation claims under § 2615(a)(1) by

alleging an employer discriminated against [him] for taking FMLA

leave.” Waggel v. Geo. Wash. Univ., 957 F.3d 1364, 1375 (D.C.

Cir. 2020) (citations omitted). The Court of Appeals for the

District of Columbia Circuit (“D.C. Circuit”) has “imported

Title VII’s prima facie case and burden-shifting regime to the

FMLA retaliation context,” Gordon v. U.S. Capitol Police, 778

F.3d 158, 161-62 (D.C. Cir. 2015) (citing Gleklen v. Democratic

Cong. Campaign Comm., Inc., 199 F.3d 1365, 1367-68 (D.C. Cir.


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2000) (citing McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93

S. Ct. 1817, 36 L. Ed. 2d 668 (1973))); such that to state a

retaliation claim under the FMLA, Mr. Chloe must establish “that

[he] engaged in a protected activity under th[e] statute; that

[he] was adversely affected by an employment decision; and that

the protected activity and the adverse employment action were

causally connected[,]” Gleklen, 199 F.3d at 1368. Upon this

showing, the burden shifts to GWU “to articulate a legitimate,

non-retaliatory reason for its actions[,]” and if it does so,

the burden returns to Mr. Chloe to prove that the “asserted non-

retaliatory reason was mere pretext for retaliation.” Carter-

Frost v. Dist. of Columbia, 305 F. Supp. 3d 60, 73 (D.D.C. 2018)

(citing Jones v. Bernanke, 557 F.3d 670, 677 (D.C. Cir. 2009)).

The central question thus becomes “whether, based on all the

evidence, a reasonable jury could conclude that [the] proffered

reason for” Mr. Chloe’s termination was pretext for retaliation

for him using FMLA leave. Pardo–Kronemann v. Donovan, 601 F.3d

599, 604 (D.C. Cir. 2010). In other words, the Court need not

consider whether Mr. Chloe “has actually satisfied the elements

of a prima facie case if [GWU] has offered a legitimate, non-

[retaliatory] reason for its actions.” Musgrove, 775 F. Supp. 2d

at 169 (citing Brady v. Off. of the Sergeant at Arms, 520 F.3d

490, 494 (D.C. Cir. 2008)).



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              1. GWU Has Asserted a Legitimate, Non-Retaliatory
                 Reason for Mr. Chloe’s Termination

     A legitimate, non-retaliatory reason is a “clear and

reasonably specific” explanation for an employer’s actions,

i.e., “simply explain[ing] what [it] has done or produc[ing]

evidence of” that reason. Tex. Dep’t of Cmty. Affs. v. Burdine,

450 U.S. 248, 256-58, 101 S. Ct. 1089, 67 L. Ed. 2d 207 (1981)

(internal quotation marks omitted). “[I]n all instances where a

defendant has asserted a legitimate, non-[retaliatory] reason

for its conduct, the Court shall evaluate all of the evidence in

the record” when assessing the legitimacy of that reason.

Washington v. Chao, 577 F. Supp. 2d 27, 39 (D.D.C. 2008). Here,

GWU states that its legitimate, non-retaliatory reason for

terminating Mr. Chloe was “his stated refusal to ever comply

with” the University’s COVID-19 policy that was mandatory for

all FPCM employees such as himself. Def.’s Mem., ECF No. 44-2 at

23. That policy required compliance with COVID-19 training,

testing, and daily self-monitoring requirements and other safety

precautions, including wearing facial masks and social

distancing. Def.’s SOMF, ECF No. 44-3 at 5 ¶ 29; see Def.’s Ex.

C, ECF No. 44-7 at 18-22.

     It is undisputed that Mr. Chloe refused to comply with

these requirements, repeatedly stating that they went against

his religious beliefs, that he should not be vaccinated against


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or tested for COVID-19, and that he would “NEVER” comply with

the policy’s mandate. See, e.g., Def.’s Ex. A, ECF No. 44-5 at

79:19-80:17, 93:8-94:19, 146, 157-60, 163; Def.’s Ex. D, ECF No.

44-8 at 58-59; Def.’s SOMF, ECF No. 44-3 at 5-6 ¶¶ 30-33, 7 ¶¶

40-43, 8-9 ¶¶ 47-48, 10 ¶ 54, 12-13 ¶¶ 68-69, 14 ¶ 77.

     It is also undisputed that Mr. Chloe refused to engage in

the interactive process so that GWU could determine whether an

accommodation may have been available based upon a sincerely

held religious belief and instead claimed that being forced to

submit the accommodation paperwork was a violation of his

constitutional rights. See, e.g., Def.’s Ex. A, ECF No. 44-5 at

93:8-94:19, 160; Def.’s SOMF, ECF No. 44-3 at 7 ¶¶ 39-40, 9 ¶

49, 10 ¶ 54. The record shows that GWU expressly informed Mr.

Chloe, prior to him taking any intermittent FMLA leave in 2020,

that failure to comply with its COVID-19 policy could “result in

disciplinary action, up to and including termination.” Def.’s

Ex. A, ECF No. 44-5 at 165; Def.’s SOMF, ECF No. 44-3 at 9 ¶¶

51-52, 10-11 ¶¶ 57-59.

     As a result of Mr. Chloe’s communications indicating his

clear, continued refusal to comply with GWU’s COVID-19 policy or

to participate in the religious accommodation process, the

University terminated him on October 1, 2020, stating in Mr.

Chloe’s termination letter that he was being fired “most

important[ly]” because of his refusal “to be tested for the

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COVID-19 virus (and engage in social distancing among other

requirements).” Def.’s Ex. A, ECF No. 44-5 at 171; see also

Def.’s SOMF, ECF No. 44-3 at 13 ¶ 74 (stating that Mr. Chloe was

terminated both for refusing to abide by GWU’s COVID-19 testing

and safety measures and for failing to provide any documentation

to support a religious accommodation request). The Court

therefore concludes that GWU has stated a legitimate, non-

retaliatory reason for Mr. Chloe’s termination.

              2. Mr. Chloe Has Failed to Produce Sufficient
                 Evidence That GWU’s Stated Reason for His
                 Termination Was Pretextual

     Having asserted a legitimate, non-retaliatory explanation

for Mr. Chloe’s termination, the burden shifts back to Mr. Chloe

to demonstrate that GWU’s stated reason “was mere pretext for

retaliation[,]” Carter-Frost, 305 F. Supp. 3d at 73; which he

can do by “presenting enough evidence to allow a reasonable

trier of fact to conclude that the employer’s proffered

explanation is unworthy of credence[,]” Musgrove, 775 F. Supp.

2d at 169 (citation and internal quotation marks omitted); see

also Allen v. Johnson, 795 F.3d 34, 39-40 (D.C. Cir. 2015) (“A

plaintiff opposing summary judgment may raise an inference that

the employer’s purpose was retaliatory by pointing to evidence

attacking the employer’s proffered reasons, together with other

evidence, if any, suggesting that retaliation was the real

reason.”). The sole remaining question is thus whether Mr. Chloe

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has produced sufficient evidence for a reasonable jury to find

that GWU’s asserted reason for terminating him “was not the true

reason” and that it “intentionally discriminated or retaliated

against” him for exercising his FMLA rights. Miles v. How.

Univ., 653 F. App’x 3, 7 (D.C. Cir. 2016). Ultimately, the Court

“may not second-guess” GWU’s decision to terminate Mr. Chloe

“absent [such a] demonstrably discriminatory motive.” Davis v.

Geo. Wash. Univ., 26 F. Supp. 3d 103, 119 (D.D.C. 2014).

     Although Mr. Chloe alleges that he was terminated for

taking intermittent FMLA leave, as opposed to his refusal to

comply with GWU’s mandatory COVID-19 policy or complete the

religious accommodation paperwork, see Compl., ECF No. 1 at 3;

Def.’s Ex. A, ECF No. 44-5 at 132:3-134:13; the Court concludes

that he has failed to meet his burden to produce sufficient

evidence that GWU’s stated reason for his termination was

pretextual. First, as GWU argues, “[t]he undisputed evidence

demonstrates that [Mr. Chloe] started to use his intermittent

FMLA leave only after extended communications with the

University regarding his non-compliance with University policies

and directives, being placed on unpaid leave, and being advised

that his conduct [might] lead to termination.” Def.’s Mem., ECF

No. 44-2 at 21. The record shows that Mr. Chloe first began

communicating with GWU regarding his refusal to abide by its

COVID-19 policy on August 26, 2020, see Def.’s Ex. A, ECF No.

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44-5 at 146; well before he took any intermittent FMLA leave in

2020, see Def.’s SOMF, ECF No. 44-3 at 11 ¶ 60; Pl.’s Ex. F, ECF

No. 47 at 22. Between August 26, 2020 and September 23, 2020,

Mr. Chloe “vehemently advised the University on at least four

occasions that he would not comply, i.e., he would not be tested

or comply with the COVID-19 policy at any time, ever[,]” and

that he would not complete the religious accommodation request

form. Def.’s Reply, ECF No. 48 at 4 (citing Def.’s SOMF, ECF No.

44-3 at 5-6 ¶¶ 31-33, 7 ¶¶ 40-43, 8-9 ¶¶ 47-49, 10 ¶¶ 53-54, 12

¶¶ 68-69); see also Def.’s Ex. A, ECF No. 44-5 at 146 (Mr.

Chloe’s August 26, 2020 email to GWU’s EEO Office), 149-51 (Mr.

Chloe’s September 8, 2020 “Notice” to Ms. Tischler), 157-61 (Mr.

Chloe’s September 10, 2020 “2nd Notice” to Ms. Tischler), 162-64

(Mr. Chloe’s September 14, 2020 “Final Notice” to Ms. Tischler);

Def.’s Ex. D, ECF No. 44-8 at 58-59 (Mr. Chloe’s September 23,

2020 “Notice and Respond” to GWU and its EEO Office).

     GWU informed Mr. Chloe via email on September 11, 2020 that

his failure to abide by its COVID-19 policy could result in his

termination, see Def.’s Ex. A, ECF No. 44-5 at 165; and it again

repeated this warning on September 18, 2020 via letter, in which

it provided him with a final opportunity to submit an

accommodation request despite his prior failures to engage in

the interactive process, see id. at 166-68 (cautioning that

failure to submit an accommodation request would place Mr.

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Chloe’s “continued employment at the University . . . at risk”).

All these events occurred before Mr. Chloe began taking

intermittent FMLA leave on September 21, 2020, which was also

almost one month after the original deadline for compliance with

GWU’s COVID-19 policy—August 28, 2020. Def.’s SOMF, ECF No. 44-3

at 5 ¶ 29, 11 ¶ 60.

     The record therefore indicates that Mr. Chloe’s use of

intermittent FMLA leave, starting on September 21, 2020 and

continuing until his termination on October 1, 2020, see id. at

11 ¶ 62, 12 ¶ 66; Pl.’s Exs. E & F, ECF No. 44-7 at 16-22; “had

no impact on his ability to comply with [GWU’s COVID-19]

requirements[,]” see Def.’s Reply, ECF No. 48 at 1, 3 (“The fact

that [Mr. Chloe] claimed FMLA leave on the eve of his

termination[] had nothing to do with the decision to

terminate.”). As GWU explains, the “wheels were already in

motion” for terminating Mr. Chloe with respect to his non-

compliance with the University’s COVID-19 policy at the time he

invoked his intermittent FMLA leave, Def.’s Mem., ECF No. 44-2

at 26; and this FMLA status could not be used to “prevent an

otherwise legitimate” firing, Def.’s Reply, ECF No. 48 at 6;

because “an employee who requests FMLA leave is not protected

from a dismissal [that] would have occurred regardless of the

employee’s request for or taking of FMLA leave[,]” Savignac v.

Jones Day, 486 F. Supp. 3d 14, 43 (D.D.C. 2020) (citation and

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internal quotation marks omitted), reconsidered in part on other

grounds by Savignac v. Day, 539 F. Supp. 3d 107 (D.D.C. 2021).

Because GWU’s “dissatisfaction” with Mr. Chloe’s refusal to

abide by its COVID-19 directives and its “intentions to

terminate him predated his [FMLA] protected activity,” the Court

concludes that any retaliatory discharge claim is “illogical”

and that no reasonable juror could conclude that his termination

was caused by his FMLA leave status. Carter v. Greenspan, 304 F.

Supp. 2d 13, 30 (D.D.C. 2004); see also Trawick v. Hantman, 151

F. Supp. 2d 54, 63 (D.D.C. 2001) (“Because the termination

process had already been initiated, following on the heels of

repeated warnings . . . , no reasonable juror could conclude

that the termination had been caused by the [protected]

activity.”), aff’d, No. 01–5309, 2002 WL 449777 (D.C. Cir. Feb.

21, 2002). Indeed, “imposing disciplinary measures [is]

legitimate[ly] [ ] warranted after” an employee violates his

employer’s policies and procedures. Carter-Frost, 305 F. Supp.

3d at 71; see also Howard v. Fed. Express Corp., 316 F. Supp. 3d

234, 243 (D.D.C. 2018) (“Given that [t]he most common legitimate

reason on which an employer might rely in disciplining an

employee would be that the employee had violated an employment

regulation or policy, Defendants have offered a legitimate,

nondiscriminatory reason for firing Plaintiffs.” (citation and

internal quotation marks omitted)).

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     Accordingly, even though Mr. Chloe was terminated shortly

after going on FMLA leave, this temporal proximity alone “cannot

establish pretext absent other, independent evidence.” Ball v.

Geo. Wash. Univ., No. 17-507, 2019 WL 1453358, at *11 (D.D.C.

Mar. 31, 2009), aff’d, 798 F. App’x 654 (D.C. Cir. 2020); see

also Nurriddin v. Bolden, 40 F. Supp. 3d 104, 138 n.17 (D.D.C.

2014) (“Although close proximity in time [between an employee’s

most recent FMLA leave and a subsequent adverse employment

action] may establish a causal connection to make out a prima

facie case of retaliation, more is required to establish

pretext.”), aff’d, 818 F.3d 751 (D.C. Cir. 2016); Long v.

Endocrine Soc’y, 263 F. Supp. 3d 275, 283 (D.D.C. 2017) (“[T]he

fact that Plaintiff was on FMLA leave when she was fired, by

itself, is not enough to get past summary judgment.”). However,

the record shows that Mr. Chloe has failed to identify other

facts or evidence that would indicate GWU’s stated reason for

terminating him was pretextual. For example, in his deposition,

Mr. Chloe said that he had no facts other than “the fact that

[he] was on FMLA [leave]” to “support a contention that the real

reason that GW[U] fired [him] was” for exercising his FMLA

rights. Def.’s Ex. A, ECF No. 44-5 at 133:3-6, 145:7-17; Def.’s

SOMF, ECF No. 44-3 at 14 ¶ 75. In addition, Mr. Chloe’s various

“notices” that he sent to GWU never mention the FMLA, an intent

to take FMLA leave, or any of the related medical conditions for

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which he was previously approved for intermittent FMLA leave.

See Def.’s SOMF, ECF No. 44-3 at 8 ¶ 44, 9 ¶ 50, 10 ¶ 55, 13 ¶¶

71, 73; see also Def.’s Reply, ECF No. 48 at 4 (explaining that

Mr. Chloe never informed GWU: “(a) that he could not submit to

testing because he was on FMLA leave; (b) that he would submit

to testing after he returned to work from FMLA leave; or (c) his

belief that the University’s actions violated the FMLA”).

Instead, Mr. Chloe’s written statements to GWU demonstrate that

he understood he could be terminated for not complying with the

University’s COVID-19 policy or participating in the religious

accommodation process, but that he nonetheless chose to

communicate his unequivocal refusal to ever submit to COVID-19

testing and/or vaccination or to provide the requisite

accommodation paperwork, both before and after he was granted

FMLA leave. 9 See, e.g., Def.’s Ex. A, ECF No. 44-5 at 162-63;


9 In his deposition, Mr. Chloe indicated that he may have sent
correspondence to GWU on September 28, 2020 indicating that he
would “change [his] mind” about COVID-19 testing after he went
to the doctor. See Def.’s Ex. A, ECF No. 44-5 at 132:16-134:13.
However, any such correspondence is not in the record, and even
if it was, it would not be enough to disprove the reasonableness
of GWU’s stated reason for Mr. Chloe’s termination given his
prior “notices” clearly indicating his intent to “NEVER” submit
to COVID-19 testing, see, e.g., Def.’s Ex. D, ECF No. 44-8 at
59; and his deposition testimony that his position on such
testing has not changed, Def.’s Ex. A, ECF No. 44-5 at 89:3-6;
see Brady v. Off. of the Sergeant at Arms, 520 F.3d 490, 495
(D.C. Cir. 2008) (“If the employer’s stated belief about the
underlying facts is reasonable in light of the evidence, . . .
there ordinarily is no basis for permitting a jury to conclude
that the employer is lying about the underlying facts.”).
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Def.’s Ex. D, ECF No. 44-8 at 58-59. And, Mr. Chloe’s

termination letter specifically confirmed that he was fired

because he “failed to abide by university COVID-19 related

requirements or to submit a new application for an

accommodation[.]” Def.’s Ex. A, ECF No. 44-5 at 171. Finally,

none of Mr. Chloe’s proffered exhibits raise a genuine dispute

of material fact that his termination resulted from his FMLA

leave status, instead only confirming GWU’s factual assertion

that LFG approved him for intermittent FMLA leave from September

21, 2020 to October 2, 2020. 10 Compare Pl.’s Exs. B, E, & F, ECF

No. 47 at 12, 16-22, with Def.’s SOMF, ECF No. 44-3 at 4-5 ¶¶

25-27, 12 ¶ 66.

     Instead of proffering any evidence that GWU’s asserted

reason for terminating him was false, Mr. Chloe has only argued,


10Mr. Chloe has included a copy of the Civil Rights Act of 1866,
42 U.S.C. § 1981, in his exhibits, see Pl.’s Ex. A, ECF No. 47
at 5-11; but he has not “asserted any such claim in this case,”
and he “cannot amend his complaint now through these filings
submitted in response to the University’s Motion for Summary
Judgment[,]” Def.’s Reply, ECF No. 48 at 5; see, e.g., SAI v.
Transp. Sec. Admin., 315 F. Supp. 3d 218, 234 (D.D.C. 2018)
(“[A] plaintiff—even a pro se plaintiff—may not amend the
complaint by raising an issue for the first time in a brief in
opposition to a motion for summary judgment[.]”). Because “it is
inappropriate for a Court to consider new claims raised for the
first time in a brief in opposition to a motion for summary
judgment[,]” Wright v. U.S. Dep’t of Just., 121 F. Supp. 3d 171,
183 n.7 (D.D.C. 2015); the Court will also not consider any
“tortious interference” claim that Mr. Chloe may have intended
to raise for the first time in his opposition, see Pl.’s Opp’n,
ECF No. 46 at 3; an intent which is not clear from the language
in his brief, see Def.’s Reply, ECF No. 48 at 10 n.6.
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as stated in his deposition, that he no longer needed to comply

with GWU’s COVID-19 requirements if he was not physically on

campus. Def.’s SOMF, ECF No. 44-3 at 14 ¶ 75 (citing Def.’s Ex.

A, ECF No. 44-5 at 132:22-134:13, 144:1-145:17). After he

learned about the University’s COVID-19 policy on or before

August 26, 2020, Mr. Chloe did not report to work on campus,

starting after August 28, 2020 (the deadline for compliance with

GWU’s COVID-19 requirements) and continuing throughout the

entirety of his September 2020 intermittent FMLA absences. See

id. at 6 ¶ 36, 11 ¶ 62, 12 ¶¶ 65-66. He began this absentee

period first by taking annual leave starting on August 31, 2020—

leave which amounted to overdraft leave because he had not yet

accrued that time off—and then switched to intermittent FMLA

leave from September 21, 2020 until the date of his termination.

Id. at 6 ¶ 36, 11 ¶ 62, 12 ¶ 66. GWU contends that Mr. Chloe’s

“argument is essentially that he could continue to avoid his

employer’s requirements and termination by finding different

reasons to be absent from work.” Def.’s Mem., ECF No. 44-2 at 25

n.10. The Court agrees that this argument fails to establish

pretext for discrimination or retaliation by GWU in regard to

Mr. Chloe’s FMLA rights, see Diggs v. Potter, 700 F. Supp. 2d

20, 50 (D.D.C. 2010) (finding that an employee’s “disagreement”

with his employer’s policy would not cause a reasonable jury to

find that the employer’s termination reason—failure to submit

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required documents—was pretext for discrimination); especially

since Mr. Chloe did not report to work in excess of his annual

leave and the five days of intermittent FMLA leave he was

allotted per month by his health care certificate, see Def.’s

SOMF, ECF No. 44-3 at 6 ¶ 36, 12 ¶ 65.

     Finally, “[l]ack of pretext is further demonstrated by,

among other things, [a p]laintiff’s previous use of FMLA leave,”

an employer’s prior approvals of such FMLA leave, and ongoing

communications between the two regarding the plaintiff’s medical

conditions, all of which is the case here. See Crowell v. Denver

Health & Hosp. Auth., No. 12-cv-00019, 2013 WL 788087, at *6 (D.

Colo. Mar. 1, 2013). GWU previously granted each of Mr. Chloe’s

requests for FMLA leave without issue and also granted him an

accommodation for his medical conditions in 2017, enabling him

to stay on disability leave even after he exhausted his FMLA

leave for that year. See Def.’s SOMF, ECF No. 44-3 at 1-2 ¶¶ 2-

13. The University has a history of working with Mr. Chloe to

accommodate his medical issues, in addition to his religious

beliefs, as evidenced by its communications with Mr. Chloe

regarding his request for a religious accommodation regarding

his work uniform and its approval of this request on November

22, 2019. See id. at 3-4 ¶¶ 14-23.

     Accordingly, the Court concludes that Mr. Chloe has failed

to point to any evidence allowing a reasonable jury to conclude

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that GWU’s stated reason for his termination was pretext for

retaliation for exercising his FMLA rights, and it GRANTS

summary judgment in GWU’s favor on this retaliation claim.

       B. Mr. Chloe’s Unlawful Interference Claim Under the FMLA
          Fails as a Matter of Law

     “[A] plaintiff may [also] bring interference claims under

[29 U.S.C.] § 2615(a)(1)” of the FMLA. Waggel, 957 F.3d at 1375.

“To prevail on an FMLA interference claim, a plaintiff must show

(1) employer conduct that reasonably tends to interfere with,

restrain, or deny the exercise of FMLA rights, and (2) prejudice

arising from the interference.” Id. at 1376 (citing Gordon, 778

F.3d at 164-65; McFadden v. Ballard Spahr Andrews & Ingersoll,

LLP, 611 F.3d 1, 7 (D.C. Cir. 2010)). “Prejudice exists where an

employee loses compensation or benefits by reason of the

violation, sustains other monetary losses as a direct result of

the violation, or suffers some loss in employment status

remediable through appropriate equitable relief.” Cobbs v.

Bluemercury, Inc., 746 F. Supp. 2d 137, 144 (D.D.C. 2010)

(citing 29 U.S.C. § 2617(a)(1)).

     GWU argues that it is entitled to summary judgment on Mr.

Chloe’s interference claim under the FMLA because “the

undisputed evidence confirms that the University planned to

terminate [Mr. Chloe] for repeated refusals to comply with

University policies and directives prior, and without regard, to


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his taking intermittent FMLA leave.” Def.’s Mem., ECF No. 44-2

at 28. The Court agrees.

     “Although terminating a person’s employment necessarily

interferes with the person’s rights under the [FMLA], an

employer is not liable for interference with FMLA rights if it

can prove it would have fired the employee even if [he] had not

taken leave.” Long, 263 F. Supp. 3d at 288 (citations omitted);

see also Savignac, 486 F. Supp. 3d at 43-44 (“An employee

terminated for reasons not related to his or her FMLA request or

leave . . . lacks an interference claim, even if termination

effectively denie[s] [an] FMLA leave request.” (citation and

internal quotation marks omitted)). In other words, the FMLA

does not “protect an employee’s job against a legitimate,

unrelated, reason for separation from employment.” Hopkins v.

Grant Thornton Int’l, 851 F. Supp. 2d 146, 155 (D.D.C. 2012),

aff’d sub nom. Hopkins v. Grant Thornton, LLP, 529 F. App’x 1

(D.C. Cir. 2013). Here, for the same reasons that the Court

concluded that GWU has stated a legitimate, non-retaliatory

reason for Mr. Chloe’s termination, specifically his continued

refusal to comply with the University’s COVID-19 policy or

submit the paperwork for engaging in the interactive

accommodations process, the Court also concludes that Mr. Chloe

would have been terminated “regardless of [his] request for or

taking of FMLA leave.” Hopkins, 529 F. App’x at 3; see also

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Def.’s Reply, ECF No. 48 at 3 (contending that GWU’s legitimate,

non-retaliatory reason for terminating Mr. Chloe’s employment

“is dispositive of both [his] Retaliation and FMLA Interference

claims”). Therefore, although Mr. Chloe was on intermittent FMLA

leave when he was terminated on October 1, 2020, see Pl.’s Exs.

E & F, ECF No. 47 at 16-22; GWU is not liable for interfering

with his FMLA rights because it has produced sufficient evidence

that “it would have made the same decision [to terminate Mr.

Chloe] had [he] not exercised [his] FMLA rights[,]” Throneberry

v. McGehee Desha Cnty. Hosp., 403 F.3d 972, 977 (8th Cir. 2005).

As GWU argues, Mr. Chloe “cannot stop the termination process

simply by designating absences as intermittent FMLA leave.”

Def.’s Mem., ECF No. 44-2 at 32.

     Furthermore, there is no evidence in the record that Mr.

Chloe was prevented from taking a COVID-19 test, or otherwise

complying with GWU’s COVID policy, because of his use of

intermittent FMLA leave starting on September 21, 2020. GWU

announced its new policy on August 10, 2020 and set a compliance

deadline of August 28, 2020. Def.’s SOMF, ECF No. 44-3 at 5 ¶¶

28-29. Thus, almost a full month passed between this deadline

and the first day of Mr. Chloe’s 2020 intermittent FMLA leave,

during which time Mr. Chloe could have complied with the policy

requiring testing and participation in COVID-19 training. Mr.

Chloe also made clear to GWU through his various “notices,” both

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before and during his 2020 intermittent FMLA leave, that not

only would he not submit to COVID-19 testing, but he also would

not complete the religious accommodation form that GWU needed to

determine if he was entitled to an exemption. See, e.g., id. at

7-8 ¶¶ 42-43, 9 ¶ 49, 13 ¶ 72. This evidence, in addition to the

undisputed fact that GWU extended the deadline for Mr. Chloe to

complete the accommodation request form numerous times,

demonstrates that he was not prevented from completing the form

because he was on FMLA leave. See, e.g., id. at 8 ¶¶ 45-46, 10

¶¶ 56-57. Instead, the record shows that Mr. Chloe only took

FMLA leave after being placed in an unpaid leave status for not

reporting to work and having insufficient accrued annual leave,

and after being warned that his “continued employment with the

University [was] at risk” if he did not begin abiding by GWU’s

COVID-19 policy or submit an accommodation request. 11 Id. at 10-

11 ¶¶ 57-59.




11The record indicates that Mr. Chloe attempted to abuse his
intermittent FMLA leave rather than use it for its intended
purpose. See Def.’s Mem., ECF No. 44-2 at 29 n.13. Mr. Chloe was
only approved for five days of intermittent FMLA leave per month
(two episodes per month, two days per episode, and one medical
appointment per month). Def.’s SOMF, ECF No. 44-3 at 5 ¶ 27.
However, he reported FMLA leave for “multiple treatments” from
September 21, 2020 to October 2, 2020, see Pl.’s Exs. E & F, ECF
No. 47 at 16-22; and yet, his medical records indicate that his
only medical appointment during that time was on September 25,
2020, Def.’s SOMF, ECF No. 44-3 at 11-12 ¶¶ 63-67.
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       As such, the undisputed facts support GWU’s argument that

Mr. Chloe’s “termination related to policy violations and

conduct pre-dating any use of FMLA leave[,]” and that his

unlawful interference claim must fail as a matter of law. Def.’s

Mem., ECF No. 44-2 at 31. Accordingly, the Court GRANTS summary

judgment in GWU’s favor on this claim.

  V.     Conclusion

       For the foregoing reasons, GWU’s Motion for Summary

Judgment, ECF No. 44, is GRANTED. An appropriate Order

accompanies this Memorandum Opinion.


       SO ORDERED.


       Signed:    Emmet G. Sullivan
                  United States District Judge
                  September 22, 2023




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